                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION



 UNITED STATES OF AMERICA,
              Plaintiff,                                 09-CR-3018-LRR
 vs.
 ASHLEY ELIZABETH MEHMEN,                                    ORDER
              Defendant.
                               ____________________

                     I. INTRODUCTION AND BACKGROUND
       On April 23, 2009, a one-count Indictment was returned against Defendant, Ashley
Elizabeth Mehman. On July 6, 2009, Defendant appeared before United States Magistrate
Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment. The same
day, Judge Scoles filed a Report and Recommendation in which he recommended that
Defendant’s guilty plea be accepted.     No objections to Judge Scoles’ Report and
Recommendation were filed. The court, therefore, undertakes the necessary review of
Judge Scoles’ recommendation to accept Defendant’s guilty plea in this case.
                                    II. ANALYSIS
       Pursuant to the statute, this court’s standard of review for a magistrate judge’s
Report and Recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].




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28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
Fed. R. Civ. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’ findings and conclusions, that there is no ground to reject or modify them.
Accordingly, IT IS HEREBY ORDERED:
       (1)    The court accepts Judge Scoles’ Report and Recommendation of July 6,
              2009.
       (2)    The court accepts Defendant Ashley Elizabeth Mehman’s plea of guilty to
              Count 1 of the Indictment.
       DATED this 21st day of July, 2009.




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